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                         UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION



UNITED STATES OF AMERICA,                )      CASE NO. 1:13cr345-038
                                         )
                                         )
                     Plaintiff,          )      JUDGE CHRISTOPHER A. BOYKO
                                         )
              Vs.                        )
                                         )
MICHAEL L. JONES,                        )      ORDER ADOPTING
                                         )      REPORT AND RECOMMENDATION
                                         )      OF MAGISTRATE JUDGE
                                         )
                    Defendant.           )


      The above Defendant, accompanied by counsel, proffered a plea of guilty

before Magistrate Judge McHargh to Count One of the Superceding Indictment. The

Court finds that the Defendant’s proffer of guilt was made under oath knowingly,

intelligently and voluntarily and that all requirements imposed by the United States

Constitution and Fed.R.Crim.P. 11 are satisfied. THEREFORE, the Court adopts the

Report and Recommendation of Magistrate Judge McHargh, approves the plea

agreement, accepts the Defendant’s offer of guilt and finds the Defendant guilty as

charged in the Indictment.

      The signed Plea Agreement shall be filed as of the date of this Order.



      IT IS SO ORDERED.

                                                s/Christopher A. Boyko
Date 2/18/2014                                  CHRISTOPHER A. BOYKO
                                                United States District Judge
